AO 245 S (Rev. 1/01) Sheet 1 - Judgment in a Criminal Case
Case 9:04-Cr-UO S- DOC ent 20 Fl setcitt age Tors FagelbD /&

 

 

 

 

 

 

 

US. DISTRICT ek ourt
a

NORTHERNDISIBA DSHS CLT exts

Fry Pals Division
UNITED STATES OF AMERICA “

~ | WAR 2.3 2006
Vv. - Case Number 3:04-CR-278-R (01)
RICKY WAYNE TOLBERT, J Re U.S. DISTRICT COURT
Defendant. were Deputy

 

 

 

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, RICKEY WAYNE TOLBERT, JR., was represented by Charles W. Blau.

In an appearance before the U.S. Magistrate Judge, the defendant pleaded guilty to Counts 1 through 11 of the
Superseding Information filed on November 9, 2004. The Court accepts and adopts the recommendation of the U.S.
Magistrate Judge that the Court accept the plea of guilty, and finds that the plea of guilty is knowing and voluntary and is
supported by an independent basis in fact as to each essential element of the offense. Accordingly, the defendant is adjudged
guilty of such count, involving the following offense:

Count

Title & Section Nature of Offense Date of Offense Number(s)
18 USC § 2113(a) & Bank Robbery February 9, 2004 Count 1
(d)

18 USC § 924(c)(1)(A) ‘Using, Carrying, and Brandishing a February 9, 2004 Count 2

Firearm During or in Relation to a
Crime of Violence

18 USC § 2113(a) & Bank Robbery February 17, 2004 Count 3
(d)

18 USC § 2113(a) & Bank Robbery February 23, 2004 Count 4
(d)

18 USC § 2113(a) & Bank Robbery February 23, 2004 Count 5
(d)

18 USC § 2113(a) & Bank Robbery January 16, 2004 Count 6
(d)

18 USC § 2113(a) & Bank Robbery January 20, 2004 Count 7
(d)

18 USC § 2113(a) Bank Robbery April 5, 2004 Count 8
18 USC § 2113(a) & Bank Robbery April 16, 2004 Count 9
(d)

18 USC § 2113(a) & Bank Robbery April 16, 2004 Count 10
(d)

18 USC § 2113(a) & Bank Robbery February 5, 2004 Count 11

(d)
Defendant: RICKY WAYNE TOLBERT, JR. Judgment—Page 1a of 5
Case Number SSA-CR4298- ROO{B-G Document 26 Filed 03/23/05 Page 2of8 PagelD 79

As pronounced on March 18, 2005, the defendant is sentenced as provided in pages 1 through 5 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay to the United States a special assessment of $1,100, for Counts 1 through 11,
which shall be due immediately. Said special assessment shall be made to the Clerk, U.S. District Court.

It is further ordered that the defendant shall notify the U.S. Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the Court and U.S. Attorney of any material change in the
defendant’s economic circumstances.

Signed this the o-3 day of March, 2005.

eye \ Sua luestaby

MEYER
UN TED STATES pistWicrs JUDGE
AO 245§ (Rev. GAS REA OQ B6 Document 26 Filed 03/23/05 Page3of8 PagelD 80

Defendant: RICKY WAYNE TOLBERT, JR. Judgment--Page 2 of 5
Case Number: 3:04-CR-278-R (01)

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be

imprisoned for a term of 204 months. This consists of 120 months on Count 1 and 3 through 11, and a sentence
of 84 months on Count 2. The sentence imposed on Count 2 shall run consecutive to the other counts.

The Court makes the following recommendations to the Bureau of Prisons: FCI, Seagoville or a facility
near the Dallas/Fort Worth area if eligible.

The defendant shall remain in custody pending service of sentence.

 

 

 

 

 

RETURN
I have executed this Judgment as follows:
Defendant delivered on to
at , with a certified copy of this Judgment.
United States Marshal
By

 

Deputy Marshal
AO 2458 (Rev. HOS SHB Gp QNSd Reise Document 26 Filed 03/23/05 Page4of8 PagelD 81

Defendant: RICKY WAYNE TOLBERT, JR. Judgment--Page 3 of 5
Case Number: 3:04-CR-278-R (01)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years on each count to run concurrently,

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

CI The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
substance abuse.

&X The defendant shall not possess a firearm, destructive device or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Fine and
Restitution sheet of the judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) The defendant shall not leave the judicial district without the permission of the court or probation officer.

2) The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete written
report within the first five days of each month.

3) | The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4) The defendant shall support his or her dependents and meet other family responsibilities.

5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
reasons.

6) The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
unless granted permission to do so by the probation officer.

10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer.

11) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.

12) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
of the court.

13) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's
compliance with such notification requirement.
Case 3:04-cr-00278-G Document 26 Filed 03/23/05 Page5of8 PagelD 82

AO 245 S (Rev. 01/01) Sheet 3a - Supervised Release

Defendant: RICKY WAYNE TOLBERT, JR. Judgment--Page 4 of 5
Case Number: 3:04-CR-278-R (01)

SPECIAL CONDITIONS OF SUPERVISION
While the defendant is on supervised release pursuant to this Judgment:
Pursuant to the Mandatory Victim Restitution Act of 1996, the defendant shall pay restitution in the amount of
$42,845.96, in the manner indicated on page 5 of this Judgment.
The defendant shall participate in a program approved by the U.S. Probation Office for treatment of narcotic,
drug, or alcohol dependency, which will include testing for the detection of substance use or abuse. The

defendant shall abstain from the use of alcohol and/or all other intoxicants during and after completion of
treatment.

The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation Officer.
AO 2458 (Rev. GAAS REASON RE8-G Document 26 Filed 03/23/05 Page6éof8 PagelD 83

Defendant: RICKY WAYNE TOLBERT, JR. Judgment--Page 5 of 5
Case Number: 3:04-CR-278-R (01)

 

RESTITUTION

The defendant shall make restitution in the amount of $42,845.96, to the following persons in the
following amounts:

Name of Payee
Bank One

Attn.: Bank Manager
Account No.: 91A-DL-101228
Rickey Wayne Tolbert, Jr. (restitution) $12,466.00

Prosperity Bank

Attn.: Bank Manager

Account No.: 91A-DL-101165

Rickey Wayne Tolbert, Jr. (restitution) $10,360.00

Bank of America

Attn.: Bank Manager

Account No.: 91A-DL-101312

Rickey Wayne Tolbert, Jr. (restitution) $2,690.00

Citizens National Bank

Attn.: Bank Manager

Account No.: 91A-DL-101334

Rickey Wayne Tolbert, Jr. (restitution) $2,300.00

Guaranty Bank

Attn.: Bank Manager

Account No.: 91A-DL-101368

Rickey Wayne Tolbert, Jr. (restitution) $2,750.00

Wells Fargo

Attn.: Bank Manager

Account No.: 91A-DL-101393

Rickey Wayne Tolbert, Jr. (restitution) $1,900.00

Compass Bank

Attn.: Bank Manager

Account No.: 91A-DL-101394

Rickey Wayne Tolbert, Jr. (restitution) $2,166.00

Bank of Texas

Attn.: Bank Manager

Account No.: 91A-DL-101577

Rickey Wayne Tolbert, Jr. (restitution) $4,415.00
Case 3:04-cr-00278-G Document 26 Filed 03/23/05 Page 7 of 8_PagelD 84
Defendant: RICKY WAYNE TOLBERT, JR. g J udginent-Page 5a of 5

Case Number: 3:04-CR-278-R (01)

Preston National Bank

Attn.: Bank Manager

Account No.: 91A-DL-101646

Rickey Wayne Tolbert, Jr. (restitution) $1,728.96

Chase Bank

Attn.: Bank Manager

Account No.: 91A-DL-101645

Rickey Wayne Tolbert, Jr. (restitution) $2,070.00

Payments of restitution are to be made to the United States District Clerk.

The Court determines that the defendant does not have the ability to pay interest and therefore
waives the interest requirement pursuant to 18 U.S.C. § 3612(£)(3).

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows: If upon commencement of the term of supervised release any part of the
restitution remains unpaid, the defendant shall make payments on such unpaid balance beginning 60
days after release from custody at the rate of at least $100 per month until the restitution is paid in full.
Case 3:04-cr-00278-G Documen t26 Filed 03/23/05 Page 8of8 PagelD 85

CLOSED

2. O4- C2: £18 -€

DATE: 2- 26

 

TRIAL: Yes No “
